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                                                     RETURN OF SERVICE
                                                        AUTHORIZED
                                                     UNITED STATES DISTRICT COURT
                                                           DISTRICT OF UTAH
                                                                           ARE YOU LISTENING YET PAC
                                                                           TRACIE HALVORSEN,
                                                                           PLAINTIFF
    For:
                                                                                VS
    Barr & Klein
                                                                           DEIDRE HENDERSON,
    444 N Michigan Ave
    Ste 1200                                                               LIEUTENANT GOVERNOR OF THE STATE OF
    Chicago IL 60611                                                       UTAH, IN HER OFFICIAL CAPACITY,
                                                                           DEFENDANT.

                                                                           Case Number: 2:24-cv-000104
I, Matt Jennings, state:

On 2/9/2024 at 3:33:32 PM, I served the following: Summons In A Civil Action, Proposed Order, Verified
Complaint for Declaratory and Injunctive Relief, Exhibit(s) on DEIDRE HENDERSON, LIEUTENANT GOV OF
UTAH at 350 S STATE #220, SALT LAKE CITY, UT 84103.

By delivering a true copy of each to MICHELLE JACKSON, as AUTHORIZED TO ACCEPT at 350 S STATE #220,
SALT LAKE CITY, UT 84103. MICHELLE JACKSON told me he or she was authorized to accept service for DEIDRE
HENDERSON, LIEUTENANT GOV OF UTAH. I told MICHELLE JACKSON to review the documents carefully and
follow any included instructions.




                                                                         I declare under criminal penalty of the State of Utah that I am over the age
                                                                         of 18, have no interest in the above action, am a Salt Lake County
                                                                         Constable, and that the foregoing is true and correct. Executed on the date
                                                                         listed above.

Comments:
Deputy Director


Served at following GPS coordinates, Lat: 0.000000 Long: 0.000000
                                                                       X________________________________
                                                                       Matt Jennings

                                                                       Job #: 2400855
                                                                       Service Fee: $109.00



                                                                Wasatch Constables, 176 N 2200 W STE 240, SALT LAKE CITY, UT 84116-2916
      Case
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Are You Listening Yet PAC; Tracie Halvorsen




                                                                               2:24-cv-000104
      Deidre Henderson, Lieutenant
 Governor of the State of Utah, in her official
                  capacity




                            Deidre Henderson, Lieutenant
                            Governor of the State of Utah, in her official
                            capacity
                            350 State St #220,
                            Salt Lake City, UT 84103




                                                                    Gary P Serdar



    02/08/2024
